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SCHEDULE 1
CIRCOR AFFILIATES
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Schedule 1

Ateliers de Navarre, a French corporation

Atlas Productions Sarl, a Moroccan corporation

Bodet/Socitec Aero, a French corporation

Cambridge Fluid Systems Limited, a United Kingdom corporation

CEP Holdings Sarl, a Luxembourg limited liability company

CEP Holdings Sarl, a Luxembourg limited liability company

CFS Technology PTE Ltd., a Singapore limited liability company

CIRCOR (Jersey) Ltd., a United Kingdom Company

CIRCOR Aerospace, Inc., a Delaware corporation

CIRCOR Energy Pipeline Services, Inc., a Delaware corporation

CIRCOR Energy Products (Canada) ULC, an Alberta unlimited liability company
CIRCOR Energy Products, Inc., an Oklahoma corporation

CIRCOR German Holdings GmbH & Co. KG, a German private company
CIRCOR German Holdings Management GmbH, a German Closed corporation
CIRCOR German Holdings, LLC, a Massachusetts limited liability company
CIRCOR India Holdings BV, a Netherlands corporation

CIRCOR India LLC, a Delaware limited liability company

CIRCOR Instrumentation Ltd., a United Kingdom Company

CIRCOR Instrumentation Technologies, Inc., a New York corporation
CIRCOR International, Inc., a Delaware corporation

CIRCOR IP Holding Co., a Delaware corporation

CIRCOR Luxembourg Holdings Sarl, a Luxembourg limited liability company
CIRCOR, Inc., a Massachusetts corporation

De Martin Giuseppe & Figli Srl, an Italian company

Dopak Inc., a Texas corporation

Dovianus B.V., a Netherlands corporation

Hale Hamilton (Valves) Limited, a United Kingdom corporation

Hoke Handelsgesellschaft GmbH, a German corporation

Howitzer Acquisition Limited, a United Kingdom corporation

Industria S. A., a French limited liability company

Leslie Controls, Inc., a Delaware corporation

Motor Technology, Inc., an Ohio corporation

Nouvelle Industria, a French corporation

Patriot Holdings, Inc., a Colorado corporation

PE America, a Texas Limited Liability corporation

Pibiviesse Sri, an Italian company

Pipeline Engineering LTD, a United Kingdom corporation

Pipeline Engineering Supply Company Limited, a United Kingdom corporation
Pipeline Trustees LTD, a United Kingdom corporation

Polyurethane Engineering Products LTD, a United Kingdom corporation
Regeltechnik Komwestheim GmbH, a German Closed corporation

RTK Control Systems Limited, a United Kingdom corporation

Sagebrush Pipeline Equipment Co., an Oklahoma corporation

Spence Engineering Company, Inc., a Delaware corporation

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Suzhou KF Valve Co., Ltd., a Chinese foreign owned enterprise
Technoflux Sarl, a Moroccan corporation
Texas Sampling Inc., a Texas corporation

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SCHEDULE 2
LESLIE AFFILIATES
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Schedule 2

Ateliers de Navarre, a French corporation

Atlas Productions Sarl, a Moroccan corporation

Bodet/Socitec Aero, a French corporation

Cambridge Fluid Systems Limited, a United Kingdom corporation

CEP Holdings Sarl, a Luxembourg limited liability company

CEP Holdings Sarl, a Luxembourg limited liability company

CFS Technology PTE Ltd., a Singapore limited liability company

CIRCOR (Jersey) Ltd., a United Kingdom Company

CIRCOR Aerospace, Inc., a Delaware corporation

CIRCOR Energy Pipeline Services, Inc., a Delaware corporation

CIRCOR Energy Products (Canada) ULC, an Alberta unlimited liability company
CIRCOR Energy Products, Inc., an Oklahoma corporation

CIRCOR German Holdings GmbH & Co. KG, a German private company
CIRCOR German Holdings Management GmbH, a German Closed corporation
~ CIRCOR German Holdings, LLC, a Massachusetts limited liability company
CIRCOR India Holdings BV, a Netherlands corporation

’ CIRCOR India LLC, a Delaware limited liability company

CIRCOR Instrumentation Ltd., a United Kingdom Company

CIRCOR Instrumentation Technologies, Inc., a New York corporation
CIRCOR International, Inc., a Delaware corporation

CIRCOR IP Holding Co., a Delaware corporation

CIRCOR Luxembourg Holdings Sarl, a Luxembourg limited liability company
CIRCOR, Inc., a Massachusetts corporation

De Martin Giuseppe & Figli Srl, an Italian company

Dopak Inc., a Texas corporation

Dovianus B.V., a Netherlands corporation

Hale Hamilton (Valves) Limited, a United Kingdom corporation

Hoke Handelsgesellschaft GmbH, a German corporation

Howitzer Acquisition Limited, a United Kingdom corporation

Industria S. A., a French limited liability company

Leslie Controls, Inc., a Delaware corporation

Motor Technology, Inc., an Ohio corporation

Nouvelle Industria, a French corporation

Patriot Holdings, Inc., a Colorado corporation

PE America, a Texas Limited Liability corporation

Pibiviesse Srl, an Italian company

Pipeline Engineering LTD, a United Kingdom corporation

Pipeline Engineering Supply Company Limited, a United Kingdom corporation
Pipeline Trustees LTD, a United Kingdom corporation

Polyurethane Engineering Products LTD, a United Kingdom corporation
Regeltechnik Kormwestheim GmbH, a German Closed corporation

RTK Control Systems Limited, a United Kingdom corporation

Sagebrush Pipeline Equipment Co., an Oklahoma corporation

Spence Engineering Company, Inc., a Delaware corporation

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Suzhou KF Valve Co., Ltd., a Chinese foreign owned enterprise
Technoflux Sarl, a Moroccan corporation
Texas Sampling Inc., a Texas corporation

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SCHEDULE 3
WATTS AFFILIATES
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Schedule 3

Actuated Controls Ltd., a United Kingdom corporation
Ames Holding Co. Delaware, a Delaware corporation

Ames Holdings, Inc., a Delaware corporation

Anderson Barrows Benelux BV, a Netherlands corporation
Anderson-Barrows Metals Corp., a California corporation
Black Automatic Controls Ltd., a United Kingdom corporation
Black Teknigas (Far East) Limited, a Hong Kong corporation
Black Teknigas Limited, a United Kingdom corporation
BLUCHER Beteiligungs GmbH, a Germany holding company
BLUCHER France SARL, a France corporation

BLUCHER Germany GmbH, a Germany corporation
BLUCHER Norway AS, a Norway corporation

BLUCHER Sweden AB, a Sweden corporation

BLUCHER UK LTD, a United Kingdom corporation

Blue Ridge Atlantic, Inc., a North Carolina corporation

BM Stainles Steel Drains Limited, a United Kingdom corporation
Canada SSI Equipment, International, a Canada corporation
Contromatics, Inc., a New Hampshire corporation

Core Industries, Inc., a Nevada corporation

DeMartin Sri, an Italy corporation

Dormont Manufacturing Company, a Pennsylvania corporation
Electro Controls Ltd., a United Kingdom corporation

Energy Analysis Controls, a Florida corporation

Flippen Valve Co., a California corporation

Flo-Safe, Inc., a Kansas corporation

Flowmatic Systems, Inc., a Florida corporation

Giuliani Anello S.r.l., an Italy corporation

Green Country Castings, an Oklahoma corporation

Gripp S.A.S., a France corporation

Hale Oilfield Products, a Texas corporation

Henry Pratt Company, an Dinois corporation

HF Scientific, Inc., a Florida corporation

Hunter Innovations Inc., a California corporation

10G, Canada

Jameco Industries, Inc., a New York corporation

Jameco International, LLP, a New Jersey corporation

James Industries, Inc.

James Jones, Inc., a California corporation

Laboratory Enterprises, Inc., a Kansas corporation
Labranche Trucking, a New Hampshire corporation

Orion Enterprises, Inc., a Kansas corporation

Orion Fittings, Inc., a Kansas corporation

Philabel BV, a Netherlands corporation

Pibircesse SpA, an Italy corporation

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Porquet S.A.S., a France corporation

Regtrol, Inc., a Delaware corporation

Rockford Valve Company, a Delaware corporation
Rudolph Labranche, Inc., a New Hampshire corporation
Sea Tech, Inc., a North Carolina corporation

SSI Equipment, Inc., a New York corporation

Suzhon Watts Valve (JV), a China entity

Taizhou Shida Plumbing Mfgt. Co. Ltd, a China corporation
Taras Valve Company, a South Carolina corporation
Teknigas Ltd., a United Kingdom limited liability company
Tianjim Tanggu Watts Valve (JV), a China entity

Tianjim Watts Valve Co. Ltd, a China limited liability company
W.O.E.E., China

W125, a United Kingdom corporation

Watts (Ningbo) International Trading Co., Ltd., a China limited liability company
Watts (Shanghai) Management Company Limited, a China limited liability company
Watts Automatic Control Valve

Watts Belgium Holding Bvba, a Belgium corporation

Watts Business Trust, a Massachusetts trust

Watts Canada Ltd., a Canada limited liability company
Watts Denmark Holding ApS, a Denmark corporation
Watts Denmark Holding ApS, a Denmark corporation
Watts Distribution Company, Inc., a Delaware corporation
Watts Drainage Products, Inc., a Delaware corporation
Watts Drainage Products, Inc., a North Carolina corporation
Watts Electronics S.A.S., a France corporation

Watts Europe Services BV, a Netherlands corporation
Watts Finance Company, a Delaware corporation

Watts Germany Holding GmbH, a Germany corporation
Watts Holding Sweden AB, a Sweden corporation

Watts Industries (Canada), Inc., an Ontario corporation
Watts Industries Belgium Bvba, a Belgium corporation
Watts Industries Bulgaria EAD, a Bulgaria corporation
Watts Industries Deutschland GmbH, a Germany corporation
Watts Industries Europe BV, a Netherlands corporation
Watts Industries France S.A.S., a France corporation

Watts Industries Iberica SA, a Spain corporation

Watts Industries Italia S.r.]., an Italy corporation

Watts Industries Luxembourg, a Luxembourg corporation
Watts Industries Netherlands BV, a Netherlands corporation
Watts Industries Nordic AB, a Sweden corporation

Watts Industries Tunisia $.A.S., a Tunisia corporation
Watts Industries U.K. Ltd., a United Kingdom corporation
Watts Industries, Inc., a Delaware corporation

Watts Industries, Sp. Z.o.0., a Poland corporation

Watts Instrumentation GmbH, a Germany corporation

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Watts Intermes AG, a Switzerland corporation

Watts Intermes GmbH, an Austria corporation

Watts Intermes GmbH, an Austria corporation

Watts Intermes Srl, an Italy corporation

Watts International Sales Corp., a Massachusetts corporation

Watts Investment Company Canada Ltd., a Canada corporation
Watts Investment Company, a Delaware corporation

Watts Italy Holding S.r.1., an Italy corporation

Watts Londa SpA, an Italy corporation

Watts Microflex NV, a Belgium corporation

Watts Plumbing Technologies (Taizhou) Co., Ltd., a China limited liability company
Watts Premier, Inc., an Arizona corporation

Watts Radiant, Inc., a Delaware corporation

Watts Regulator Co., a Massachusetts corporation

Watts Sea Tech, Inc., a Delaware corporation

Watts Securities Corp., a Massachusetts corporation

Watts Spacemaker Inc., a California corporation

Watts U.K. Ltd., a United Kingdom corporation

Watts Valve (Changsha) Co., Ltd, a China limited liability company
Watts Valve (Ningbo) Co., Ltd., a China limited liability company
Watts Water Quality and Conditioning Products, Inc., a Delaware corporation
Watts Water Technologies, Inc., a Delaware corporation

Wattsco Int’) Ltd., a U.S.V.I. corporation

Webster Investment Company, a Delaware corporation

Webster Valve, Inc., a New Hampshire corporation

Wefco, a New Hampshire corporation

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